         Case 2:22-cv-00509-SRB Document 500 Filed 08/02/23 Page 1 of 16




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14
                                UNITED STATES DISTRICT COURT
15                                  DISTRICT OF ARIZONA
16
                                                          Case No. 22-00509-PHX-SRB
17   Mi Familia Vota, et al.                              (Lead)
18                Plaintiffs,
                                                          CONSOLIDATED NON-U.S.
19         v.                                             PLAINTIFFS’ MOTION TO
     Adrian Fontes, in his official capacity as Arizona   COMPEL DISCOVERY AS TO
20                                                        INTERVENOR-DEFENDANTS
     Secretary of State, et al.,                          SPEAKER BEN TOMA AND
21                Defendants,                             PRESIDENT WARREN
                                                          PETERSEN
22         and
     Speaker of the House Ben Toma and Senate             No. CV-22-00519-PHX-SRB
23                                                        No. CV-22-01003-PHX-SRB
     President Warren Petersen,
24                                                        No. CV-22-01124-PHX-SRB
                  Intervenor-Defendants.                  No. CV-22-01369-PHX-SRB
25                                                        No. CV-22-01381-PHX-SRB
                                                          No. CV-22-01602-PHX-SRB
26                                                        No. CV-22-01901-PHX-SRB
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28
         Case 2:22-cv-00509-SRB Document 500 Filed 08/02/23 Page 2 of 16




 1   Living United for Change in Arizona, et al.,
 2                 Plaintiffs,
            v.
 3
     Adrian Fontes, in his official capacity as Arizona
 4   Secretary of State, et al.,
 5                 Defendant,

 6          and
     State of Arizona, et al.,
 7
                   Intervenor-Defendants,
 8          and
 9   Speaker of the House Ben Toma and Senate
     President Warren Petersen,
10
                   Intervenor-Defendants.
11
     Poder Latinx, et al.,
12
                   Plaintiff,
13
            v.
14   Adrian Fontes, in his official capacity as Arizona
15   Secretary of State, et al.,
                   Defendants,
16
            and
17   Speaker of the House Ben Toma and Senate
18   President Warren Petersen,
                   Intervenor-Defendants.
19
20   United States of America,
                   Plaintiff,
21
            v.
22
     State of Arizona, et al.,
23                 Defendants,
24          and
25   Speaker of the House Ben Toma and Senate
     President Warren Petersen,
26
                   Intervenor-Defendants.
27
28
         Case 2:22-cv-00509-SRB Document 500 Filed 08/02/23 Page 3 of 16




 1   Democratic National Committee, et al.,
 2                Plaintiffs,
           v.
 3
     Adrian Fontes, in his official capacity as Arizona
 4   Secretary of State, et al.,
 5                Defendants,

 6         and
     Republican National Committee,
 7
                  Intervenor-Defendant,
 8         and
 9   Speaker of the House Ben Toma and Senate
     President Warren Petersen,
10
                  Intervenor-Defendants.
11
     Arizona Asian American Native Hawaiian and
12   Pacific Islander for Equity Coalition,
13                Plaintiff,
14         v.
     Adrian Fontes, in his official capacity as Arizona
15
     Secretary of State, et al.,
16                Defendants,
17         and
18   Speaker of the House Ben Toma and Senate
     President Warren Petersen,
19                Intervenor-Defendants.
20   Promise Arizona, et al.,
21                Plaintiffs,
22         v.

23   Adrian Fontes, in his official capacity as Arizona
     Secretary of State, et al.,
24                Defendants,
25         and
26   Speaker of the House Ben Toma and Senate
     President Warren Petersen,
27
                  Intervenor-Defendants.
28
           Case 2:22-cv-00509-SRB Document 500 Filed 08/02/23 Page 4 of 16




 1            None of the plaintiffs in any of these eight consolidated cases named Arizona House
 2   Speaker Ben Toma, Arizona Senate President Warren Petersen, or any other member of the
 3   legislature as a defendant. Rather, Speaker Toma and President Petersen voluntarily inserted
 4   themselves into the case. They did so, moreover, not as amici seeking to argue discrete legal
 5   issues. Instead, they chose to become full parties in the case, by intervening. They did so
 6   without limiting the scope of their intervention, and making clear they were intervening “in
 7   their official capacities, and on behalf of their respective legislative chambers.” ECF 348 at
 8   4 (emphasis added). Asserting that “[t]he Speaker and President, on behalf of their
 9   chambers, represent a unique perspective that is important to a full understanding of the
10   State’s interests,” id. at 10-11 (emphasis added), they said their purpose in intervening was
11   “to fully defend the laws passed by the legislature.” Id. at 11 (emphasis added).
12            Consistent with this clearly expressed intent to participate in the case as full-fledged
13   defendants, Speaker Toma and President Petersen filed answers (see ECF 348-1)—in which
14   they denied that the challenged laws impose any undue burden on the right to vote, have any
15   discriminatory impact or intent, or otherwise violate federal law. Further confirming their
16   intent to address core factual disputes in the case, the legislators’ interrogatory responses
17   assert that “[i]t is the Speaker and the President’s position that the Challenged Laws were not
18   intended to discriminate against any individual on the basis of race or national origin.” Ex.
19   A at 5, Intervenor-Defs. Speaker of the H. Ben Toma and Sen. Pres. Warren Petersen’s
20   Answers to Consol. Pls. First Set of Interrogs. (emphasis added).1
21            At the same time, however, the legislators have refused to allow plaintiffs to take
22   discovery into these central factual disputes, i.e., the challenged laws’ intent and effect. In
23   particular, the legislators have broadly invoked legislative privilege to withhold (1)
24   responsive communications with third-party interest groups involved in crafting the
25   challenged laws, (2) emails from their business or campaign accounts, and (3)
26   communications among legislators and their staff. They also have made clear they would
27
     1
         Exhibit references are to those attached to the Declaration of Christopher E. Babbitt.
28                                                    -1-
         Case 2:22-cv-00509-SRB Document 500 Filed 08/02/23 Page 5 of 16




 1   invoke privilege to refuse to answer deposition questions regarding the enactment of the
 2   challenged laws, and they have objected to designating anyone to testify on behalf of their
 3   respective chambers under Federal Rule of Civil Procedure 30(b)(6).
 4          The legislators cannot have it both ways. They cannot intervene as parties to “fully
 5   defend the laws,” ECF 348 at 11, while resisting discovery into the very grounds on which
 6   they seek to do so. Nor may they wield the legislature’s “unique perspective” as a sword,
 7   id., while raising privilege and other objections as a shield to refuse to designate someone to
 8   testify on that institutional perspective under oath. Plaintiffs therefore ask the Court to (1)
 9   hold that the legislative privilege has been waived or is otherwise overcome, and (2) order
10   the legislators to produce documents improperly withheld and to designate one or more
11   witnesses to testify at 30(b)(6) depositions on behalf of their respective chambers.2
12                                          BACKGROUND
13          Plaintiffs here challenge two Arizona laws, H.B. 2243 and H.B. 2492, under various
14   federal statutes and constitutional provisions. The cases were filed against Arizona and its
15   attorney general and secretary of state shortly after the laws were enacted. But after eight
16   months of litigation, Speaker Toma and President Petersen moved to intervene as defendants.
17   ECF 348. As noted, they did so “on behalf of their respective legislative chambers” to
18   provide “a unique perspective” in the case. Id. at 4, 11. They invoked House and Senate
19   rules granting them litigation authority as the presiding officers of their respective chambers,
20   as well as their statutory authority under A.R.S. §12-1841.D. See ECF 348 at 4.
21          After the Court granted intervention, ECF 363, plaintiffs propounded four
22   interrogatories and four requests for production of documents on the legislators, ECF 371.
23   After the legislators objected, ECF 412, counsel for the parties negotiated acceptable
24   parameters for the document requests and repeatedly conferred to narrow their
25   disagreements. The legislators have now responded to the interrogatories and produced
26
     2
      This brief is filed for the consolidated plaintiffs other than the United States, which has not
27
     sought discovery from the legislators.
28                                                  -2-
         Case 2:22-cv-00509-SRB Document 500 Filed 08/02/23 Page 6 of 16




 1   documents from the public domain and mass standard-form communications with
 2   constituents. But they have withheld on privilege grounds three categories of documents: (1)
 3   48 communications with third-party interest groups involved in the passage of the challenged
 4   laws—the Free Enterprise Club, the Conservative Political Action Committee, and Heritage
 5   Action; (2) 134 communications among legislators and legislative staff; and (3) 10,497
 6   calendar entries. See Ex. B, Legislative Privilege Log.3
 7          As for depositions, the legislators’ counsel indicated that the legislators would assert
 8   legislative privilege to avoid answering Rule 30(b)(1) deposition questions regarding the
 9   legislative process underlying the challenged laws. In addition, they object to any 30(b)(6)
10   deposition at all, as they “do not agree with [the] premise that the Speaker and the President
11   intervened on behalf of their respective chambers.” Ex. C, Letter from Babbitt to Porter; Ex.
12   E, Email Exchange. They further question whether it would be practical for them to
13   designate someone to speak on the legislature’s behalf on topics identified in the discussion
14   draft of the Rule 30(b)(6) deposition notice. Ex. F, Draft 30(b)(6) Notice. Both issues, i.e.,
15   the availability of the privilege and the nature of the depositions, remain unresolved.4
16                                       LEGAL STANDARD
17          “The party asserting an evidentiary privilege has the burden to demonstrate that the
18   privilege applies to the information in question.” Tornay v. United States, 840 F.2d 1424,
19   1426 (9th Cir. 1988). The legislative privilege is “qualified,” not absolute, “and must
20   therefore depend on a balancing of the legitimate interests on both sides.” In re Grand Jury,
21
     3
22     The privilege log indicates that mass communications with constituents are being withheld;
     the parties have since agreed that the legislators would produce those stock email exchanges
23   provided that plaintiffs do not assert that the production amounts to a privilege waiver. The
     legislators have also withheld communications with legislative counsel as protected by the
24   attorney-client privilege; plaintiffs do not challenge that privilege claim.
25
     4
       The parties have agreed to single-day depositions of the legislative intervenors, subject to
26   resolution of their disagreement over whether they should proceed only under Rule 30(b)(1)
     or also under Rule 30(b)(6). Plaintiffs thus do not seek additional depositions (or days), only
27
     resolution of how the agreed-upon depositions should proceed.
28                                                 -3-
          Case 2:22-cv-00509-SRB Document 500 Filed 08/02/23 Page 7 of 16




 1   821 F.2d 946, 957 (3d Cir. 1987). Thus, as Judge Lanza recently explained: “To determine
 2   whether the legislative privilege precludes disclosure, a court must balance the interests of
 3   the party seeking the evidence against the interests of the individual claiming the privilege.
 4   When doing so, courts often consider the following factors: (i) the relevance of the evidence
 5   sought to be protected; (ii) the availability of other evidence; (iii) the seriousness of the
 6   litigation and the issues involved; (iv) the role of government in the litigation; and (v) the
 7   purposes of the privilege.” Mi Familia Vota v. Hobbs,         F.Supp.3d      , 2023 WL
 8   4595824, at *8 (D. Ariz. July 18, 2023) (citing Puente Arizona v. Arpaio, 314 F.R.D. 664,
 9   672 (D. Ariz. May 5, 2016)) (citation and footnote omitted).
10                                            ARGUMENT
11   I.     THE LEGISLATIVE PRIVILEGE DOES NOT SHIELD THE LEGISLATORS FROM
            DISCOVERY WHERE THEY HAVE INTERVENED AS PARTIES
12
13          The legislators voluntarily injected themselves into this litigation, and did so not just
14   as amici but as full parties. Under A.R.S. §12-1841.D (the statute the legislators cite as the
15   basis for their intervention), they had three choices: “[T]he speaker of the house of
16   representatives or the president of the senate, in the party’s discretion, may [1] intervene as a
17   party, [2] may file briefs in the matter or [3] may choose not to participate in a proceeding.”
18   The legislators chose option 1. In their words, they did so to “fully defend the laws passed
19   by the legislature” and to “represent a unique perspective that is important to a full
20   understanding of the State’s interests.” ECF 348 at 11. Having elected to wield the sword of
21   their unique legislative perspective in defense of the laws, they may not avoid discovery into
22   the very grounds on which they seek to defeat plaintiffs’ case.
23          That conclusion is compelled not only by basic notions of fairness, but also by either
24   of two lines of case law. First, courts have held that intervention alone waives the legislative
25   privilege that the legislators here invoke. Alternatively, under the five-factor balancing test
26   that Judge Lanza recently employed in a case involving non-party discovery from the
27   legislature, the legislators’ intervention tips the balance heavily in favor of disclosure.
28                                                  -4-
         Case 2:22-cv-00509-SRB Document 500 Filed 08/02/23 Page 8 of 16



            A.     The Legislators’ Intervention Waived The Privilege
 1
            The leading case on waiver in this setting is Powell v. Ridge, 247 F.3d 520 (3d Cir.
 2
     2001). There, organizations sued Pennsylvania’s governor and various state officials
 3
     alleging that the state’s system of funding public education had a racially discriminatory
 4
     effect, in violation of federal law. Leaders of the Pennsylvania legislature moved to
 5
     intervene, making the same argument made here—i.e., they intervened so they could
 6
     “articulate to the Court the unique perspective of the legislative branch of the Pennsylvania
 7
     government.” Id. at 522. Once in the case, however, the legislators objected to plaintiffs’
 8
     discovery on privilege grounds and sought to appeal the district court’s order compelling
 9
     production of documents. The Third Circuit dismissed for lack of appellate jurisdiction,
10
     leaving the district court’s order in place. The court reasoned that there was no basis in law
11
     for the legislators’ assertion of privilege where they had intervened as parties:
12
            Unlike the reluctant participants in the cases upon which they rely, the
13          Legislative Leaders voluntarily installed themselves as defendants. And,
14          unlike the reluctant participants in those cases, the Leaders wish to remain
            as defendants and participate as long as the case is around…This is simply
15          not a case of legislators caught up in litigation in which they do not wish to
16          be involved. Rather, these are self-made defendants who seek to turn what
            has … been the shield of legislative immunity into a sword.
17
     247 F.3d at 525.
18
            A three-judge district court reached the same conclusion in Singleton v. Merrill, 576
19
     F.Supp.3d 931 (N.D. Ala. 2021), which involved challenges to Alabama’s congressional-
20
     redistricting plan. State legislators who intervened again made the very arguments made
21
     here—i.e., that they were “uniquely positioned” to defend the plan by virtue of their role on
22
     the Alabama legislature’s reapportionment committee. Id. at 934. And just like Speaker
23
     Toma and President Petersen, they filed answers denying any discriminatory intent by the
24
     legislature. See id. at 937. When they moved for a protective order to prevent their
25
     depositions and written discovery, the district court denied the motion, allowing the
26
     discovery because the legislators had waived the privilege through their litigation conduct:
27
28                                                 -5-
         Case 2:22-cv-00509-SRB Document 500 Filed 08/02/23 Page 9 of 16




            The Legislators here have the same sword/shield problem [as in Powell].
 1
            The Legislators seek to use their unique position as [the plan]’s principal
 2          drafters as a sword to defend the law on its merits, but intermittently seek to
            retreat behind the shield of legislative privilege when it suits them.
 3
     Id. at 940.
 4
            During the meet-and-confer process here, the legislators’ counsel tried to distinguish
 5
     this line of authority on the ground that Speaker Toma and President Petersen “do not intend
 6
     to put forward any affidavits or live testimony of any legislator … relating to the passage of
 7
     the bills,” Ex. D at 2, Letter from Porter to Babbitt. But they have carefully reserved the
 8
     right to do so, see id. at 2 n.1 (“I noted on the call that there is a small chance that this could
 9
     change…”). In any event, the legislators have: filed answers denying all of plaintiffs’
10
     relevant allegations, see ECF 348-1; asserted in interrogatory responses that “the Challenged
11
     Laws were not intended to discriminate against any individual on the basis of race or
12
     national origin,” Ex. A at 5 (emphasis added); joined in the summary judgment motions filed
13
     by the other defendants, see ECF 369; and will presumably join any pre-trial, trial, post-trial,
14
     and appellate briefing that suits their interest in defeating plaintiffs’ claims.
15
            The cases the legislators have cited (in their objections and during the meet-and-
16
     confer process) are inapposite, as none involved discovery disputes following voluntary
17
     intervention by legislators. Some involved subpoenas to legislators who were not involved
18
     in a case at all. See Puente Arizona, 314 F.R.D. at 668, 671; Miller v. Transamerican Press,
19
     Inc., 709 F.2d 524, 526 (9th Cir. 1983); Jackson Mun. Airport Auth. v. Harkins, 67 F.4th
20
     678, 682 (5th Cir. 2023); La Union Del Pueblo Entero v. Abbott, 68 F.4th 228, 232 (5th Cir.
21
     2023); In re N.D. Legis. Assemb., 70 F.4th 460, 463 (8th Cir. 2023); League of Women
22
     Voters of Fla., Inc. v. Lee, 340 F.R.D. 446-452 (N.D. Fla. 2021). Others did not involve
23
     discovery. See S.C. Educ. Ass’n v. Campbell, 883 F.2d 1251, 1253-1254 (4th Cir. 1989);
24
     Vill. of Arlington Heights v. Metro. Hous. Dev. Corp., 429 U.S. 252, 254-255 (1977).
25
26
27
28                                                   -6-
        Case 2:22-cv-00509-SRB Document 500 Filed 08/02/23 Page 10 of 16




 1          Accordingly, consistent with the holdings and reasoning of Powell and Singleton, the
 2   Court should hold that the legislators waived the legislative privilege by intervening in this
 3   litigation to participate as parties in full defense of the challenged laws.
 4          B.     If Not Waived, The Privilege Is Overcome Here
 5          Even if there is no waiver, the qualified legislative privilege has been overcome here.
 6   As noted, courts evaluate whether the privilege has been overcome by considering the
 7   following factors: “(i) the relevance of the evidence sought to be protected; (ii) the
 8   availability of other evidence; (iii) the seriousness of the litigation and the issues involved;
 9   (iv) the role of government in the litigation; and (v) the purposes of the privilege.” Mi
10   Familia Vota, 2023 WL 4595824, at *8. All five factors favor disclosure here.
11          Relevance. As this Court has recognized in prior constitutional challenges to Arizona
12   legislation, materials related to the legislative process are highly relevant to establishing
13   whether the legislature acted with a discriminatory intent or purpose. See Sol v. Whiting,
14   2013 WL 12098752, at *3 (D. Ariz. Dec. 11, 2013) (Bolton, J.). Ordering the production of
15   such documents, the Court reasoned that communications between legislators and their third-
16   party advisors “are likely to contain admissible evidence or lead to the discovery of
17   admissible evidence of those legislators’ intent in drafting and supporting [the legislation] as
18   ‘contemporary statements by members of the decisionmaking body.’” Id. (quoting Vill. of
19   Arlington Heights, 429 U.S. at 268). Judge Lanza also found the first factor favored
20   disclosure, reasoning that “[w]hat motivated the Arizona legislature to enact [the challenged
21   law] is at the heart of this litigation.” Mi Familia Vota, 2023 WL 4595824, at *10. Indeed,
22   the relevance is so clear that the legislators are not even asserting relevance as a basis for
23   resisting production. See Ex. C at 2 (confirming that legislators are “not withholding”
24   documents on grounds of relevance or other non-privilege objections).
25          Other evidence. As noted, the legislators repeatedly touted their “unique” interests
26   and perspective as a basis for intervention. ECF 348 at 2, 11, 13. By definition, “unique”
27   information cannot be obtained elsewhere, which by itself should end the inquiry. While
28                                                  -7-
        Case 2:22-cv-00509-SRB Document 500 Filed 08/02/23 Page 11 of 16




 1   Judge Lanza found that the second factor favored the non-party legislators—reasoning that
 2   “direct evidence of discriminatory intent is not required for Plaintiffs to prevail on their
 3   claims,” Mi Familia Vota, 2023 WL 4595824, at *11—he was evidently concerned about
 4   opening the floodgates to non-party discovery of state legislators, observing that it was
 5   unclear “how the facts of [that] case distinguish it from every other case involving alleged
 6   discriminatory intent,” id. That concern is not present here, as legislators generally do not
 7   inject themselves as parties into litigation against other state officials.
 8          Seriousness of the litigation. There can be no dispute over the seriousness of the
 9   issues in this litigation. As Judge Lanza noted, “[t]he federal interest in protecting voting
10   rights is a serious one,” and “the right to be free from discrimination on the basis of race is a
11   vital constitutional right,” Mi Familia Vota, 2023 WL 4595824, at *10. Indeed, the
12   legislators in that case rightly conceded that the third factor favors disclosure. See ECF 369.
13          Role of government. Judge Lanza found the fourth factor to be neutral, observing
14   that courts have differed in its application. Some courts, he explained, have concluded the
15   factor is simply “inapt in the legislative privilege context,” Mi Familia Vota, 2023 WL
16   4595824, at *12 (citing League of Women Voters of Fla., 340 F.R.D. at 457). Others have
17   found that it favors disclosure where the plaintiffs’ allegations “rais[e] serious charges about
18   the fairness and impartiality of some of the central institutions of our state government” or
19   where “legislative immunity is not under threat,” Mi Familia Vota, 2023 WL 4595824, at
20   *12, considerations that likewise favor disclosure here. Still other courts have found the
21   factor to weigh against disclosure where state officials sought to protect the legislative
22   process from “unwarranted intrusion” or to “uphold the validity of the challenged
23   legislation.” Id. (citing Puente Arizona, 314 F.R.D. at 672). Here, unlike Puente Arizona
24   (which involved a non-party subpoena), there is no “unwarranted intrusion,” as the
25   legislators voluntarily intervened as full-party defendants. And this is not a routine case, in
26   which state officials seek to “uphold the validity of … challenged legislation” as a matter of
27   law: the legislators intervened to defend the laws on the facts, asserting that the challenged
28                                                   -8-
           Case 2:22-cv-00509-SRB Document 500 Filed 08/02/23 Page 12 of 16




 1   laws “were not intended to discriminate against any individual on the basis of race or
 2   national origin.” Ex. A at 5. Accordingly, the fourth factor likewise favors disclosure.
 3           Purpose of the privilege. Plaintiffs recognize that legislative privilege serves
 4   important purposes, including the interest in “protect[ing] confidential communications
 5   between lawmakers and their staff,” Mi Familia Vota, 2023 WL 4595824, at *12, and
 6   encouraging “the fullest liberty of speech” in legislative debate, Lee v. City of L.A., 908 F.3d
 7   1175, 1186 (9th Cir. 2018). But the legislators’ interest in protecting the confidentiality of
 8   their communications or the substance of their debates should yield where they have put such
 9   matters directly at issue through their intervention and affirmative participation in the
10   defense of this case. Thus, the fifth factor also weighs in favor of disclosure.
11           In short, while the case before Judge Lanza—involving non-party discovery from
12   legislators—presented a “close call” under the five-factor test, Mi Familia Vota, 2023 WL
13   4595824, at *13, this one does not. The legislators’ intervention distinguishes this case from
14   Mi Familia Vota with respect to the two factors that favored non-disclosure there.
15   Accordingly, if the Court does not deem the privilege waived, it should rule that the privilege
16   has been overcome, and order the legislators to produce the withheld material and answer
17   questions at their depositions, whether they are deposed under 30(b)(1) or 30(b)(6).5
18   II.     DEPOSITIONS UNDER RULE 30(b)(6) ARE APPROPRIATE WHERE LEGISLATORS
             HAVE INTERVENED “ON BEHALF OF THEIR RESPECTIVE CHAMBERS”
19
20           Speaker Toma and President Petersen intervened “on behalf of their respective
21   legislative chambers, which together comprise the Fifty-Sixth Legislature of Arizona.” ECF
22   348 at 4. Yet they now object to producing any deponents to testify on behalf of either their
23   respective chambers or the legislature as a whole. That is untenable. By invoking the
24   institutional weight of the legislature in support of their positions, they have necessitated
25
26   5
      If the Court does not rule that the privilege has been waived or overcome categorically, it
     should conduct an in camera review of the withheld documents, as was done in Mi Familia
27
     Vota, and order a production of those that bear most directly on plaintiffs’ claims.
28                                                  -9-
         Case 2:22-cv-00509-SRB Document 500 Filed 08/02/23 Page 13 of 16




 1   deposition testimony with respect to the legislature as an entity.
 2          Such discovery is subject to Rule 30(b)(6), which permits the deposition of a
 3   “governmental agency, or other entity” on specific topics provided by the deposing party,
 4   and obligates the deponent organization to designate one or more persons to testify on its
 5   behalf. Fed. R. Civ. P. 30(b)(6). The rule was intended to provide “added facility for
 6   discovery” and curb “bandying,” or individual witnesses disclaiming knowledge of facts
 7   known by the organization. Id. (advisory notes accompanying 1970 amendment). That is
 8   precisely what Speaker Toma and President Petersen have positioned themselves to do—
 9   limiting their discovery responses to their personal knowledge, disclaiming any response on
10   behalf of the legislature, and leaving open the possibility that other “members of the Fifty-
11   Fifth Legislature … may have [relevant] knowledge.” Ex. A at 5-6; see also id. at 6-7
12   (limiting interrogatory responses by asserting that they seek information “outside the scope
13   of the Speaker and President’s knowledge”). The Court should not permit such
14   gamesmanship and should order the legislators to designate one or more 30(b)(6) witnesses
15   for deposition on behalf of their respective chambers.6
16          Alternatively, the Court should bar the legislators from offering evidence and
17   arguments on behalf of the Arizona Legislature regarding the challenged laws. Such an
18   order—which would allow the legislators to participate in this case as individuals, but not on
19   behalf of the legislature as a whole—would minimize the unfairness to plaintiffs.
20                                          CONCLUSION
21          The Court should hold that the legislative intervenor-defendants waived the legislative
22   privilege by intervening in this litigation, or that the privilege has been overcome, and that
23   they (or their designees) must provide Rule 30(b)(6) testimony on the designated topics.
24   6
       During the meet-and-confer process, counsel for the legislators also objected that it would
25   be difficult for them to prepare a 30(b)(6) designee because relevant information is not
     centralized within the legislature. But that is of no moment, as such difficulties are inherent
26   in any organizational deposition, where information must be gathered from multiple sources.
     See Great Am. Ins. Co. of N.Y. v. Vegas Const. Co., 251 F.R.D. 534, 539-540 (D. Nev. 2008)
27
     (citing United States v. Taylor, 166 F.R.D. 356, 360-361 (M.D.N.C. 1996)).
28                                                 - 10 -
     Case 2:22-cv-00509-SRB Document 500 Filed 08/02/23 Page 14 of 16




 1     Dated this 2nd day of August, 2023.
 2                                       Respectfully submitted,
                                         PAPETTI SAMUELS WEISS MCKIRGAN LLP
 3
 4                                       /s/Bruce Samuels
                                         Bruce Samuels
 5
 6                                       WILMER CUTLER PICKERING
                                           HALE AND DORR LLP
 7                                       Seth P. Waxman (pro hac vice)
                                         Daniel S. Volchok (pro hac vice)
 8
                                         Christopher E. Babbitt (pro hac vice)
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 1                                        CERTIFICATION
 2         I have personally conferred with counsel for the legislative intervenor-defendants, and
 3   together we engaged in a sincere and good-faith—but unsuccessful—effort to resolve the
 4   dispute that underlies the foregoing motion.
 5
     Dated this 2nd day of August, 2023       /s/Christopher E. Babbitt
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                                              Christopher E. Babbitt
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 1                                CERTIFICATE OF SERVICE
 2         On the 2nd day of August, 2023, I caused the foregoing to be filed and served
 3   electronically via the Court’s CM/ECF system upon counsel of record.
 4                                                  /s/Bruce Samuels
 5                                                  Bruce Samuels

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